                                    Case 1:24-cv-00639-TJK Document 1-5 Filed 03/06/24 Page 1 of 1
    S44 (Rev 03/24)                                                             CIVIL COVER SHEET
The JS 44 civil cover sheetand the information contained hereinneitherreplacenor supplement the filingand serviceof pleadings or other papersas required by law, exceptas
provided by local rulesof court. This form, approved by theJudicial Conference of the United States in September 1974, is required forthe useof the Clerkof Courtfor the
purpose of initiating the civil docket sheet.            (SEEINSTRUCTIONS ONNEXT PAdE 01- THIS FORM.)
I. (a) PLAINTIFFS                                                                                                  DEFENDANTS

          Esther Van DerWerf, Toby Stover, and Elizabeth                                                           NATIONAL PARK SERVICE, U.S. DEPARTMENT OF THE
          Dasburg                                                                                                  INTERIOR, and CHARLES F. SAMS III
      (b) County of Residence ofFirst Listed Plaintiff Vsntura, CA                                                 Countv of Residence of First Listed Defendant                 DC
                                    (EXCEPT IN U.S. PU/NTIFF CASES)                                                                       (IN US PLAINTIFF CASES ONLY)
                                                                                                                   NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                              THE TRACT OF LAND INVOLVED.


      (c) Attorneys (Firm Name, Address, andTelephone Number)                                                       Attorneys (If Known)

            Ray L. Floras II, 11622 El Camino Real Suite 100
            San Diego California 92130 (858) 367-0397
II. BASIS OF JURISDICTION (Place an "X"in OneBox Only)                                                III. CITIZENSHIP OF PRINCIPAL PARTIES (place an "X"inOne Boxfar plaintiff
                                                                                                               (For Diversify Cases Only)                                        and One Boxfar Defendant)
1 11     U.S. Government                 ^3 Federal Question                                                                              PTF        DEF                                               PTF     DEF
            Plaintiff                                (U.S. Government Not a Party)                        Citizen ofThis State            Ql        CH ' Incorporated orPrincipal Place                dl ^ 1 |4
                                                                                                                                                                 of Business In This State

[T|2 U.S. Government                    Q4 Diversity                                                      Citizen ofAnother State         Q 2       [^2 Incorporated and Principal Place               C] ^ 1 |5
            Defendant                                (Indicate Citizenship ofParties in Item III)                                                                of Business In Another State

                                                                                                          Citizen orSubject ofa           Q 3       Q 3 Foreign Nation                                 dl ^ 1 |6
                                                                                                            Foreign Country
IV. NATURE OF SUIT ff/ac:e an "X" in One Box Onlv)                                                                                            Click here for: Nature ofS lii Code Dcscriniions.
             CONTRACT                                                   TORTS                               FORFEITURE/PENALTY                         BANKRUPTCY                        OTHER STATUTES

      110 Insurance                        PERSONAL INJURY                    PERSONAL INJURY             ^625 Dnig Related Seizure                 422 Appeal 28 USC 158              375 False Claims Act
      120 Marine                         1310 Airplane                    [ I365Personal Injury -                of Property 21 USC 881             423 Withdrawal                     376 Qui Tam(31 USC
      130 Miller Act                      315 Airplane Product                    Product Liability       ^690 Other                                    28 USC 157                         3729(a))
      140 Negotiable Instniment                 Liability                 • 367 Health Care/                                                         INTELLECTUAL                      400 State Reapportionment
      150 Recovery of Overpayment         320 Assault. Libel &                   Phamiaceutical                                                     PROPERTY RIGHTS                    410 Antitrust
         & Enforcement of Judgment              Slander                          Personal Injury                                                    820 Copyrights                     430 Banks and Banking
      151 Medicare Act                   I 330Federal Employers'                 Product Liability                                                  830 Patent                         450 Commerce
      152 Recovery of Defaulted                   Liability               I I368Asbestos Personal                                                   835 Patent - Abbreviated           460 Deportation
          Student Loans                   340 Marine                              Injury Product                                                        New Drug Application           470 Racketeer Influenced and
          (Excludes Veterans)             345 Marine Product                      Liability                                                         840 Trademark                            Corrupt Organizations
•     153 Recovery ofOverpayment                Liability                  PERSONAL PROPERTY              _           LABOR                         880 Defend Trade Secrets           480 Consumer Credit
         of Veteran's Benefits            350 Motor Vehicle                  370 Other Fraud              ^ 710 Fair Labor Standards                    Act of 2016
                                                                                                                                                                                             (15 USC 1681 or 1692)
      160 Stockholders" Suits             355 Motor Vehicle                  371 Truth in Lending                Act                                                                   485 Telephone Consumer
      190 Other Contract                        Product Liability            380 Other Personal           ^720 Labor/Management                     SOCL^L SECURITY                          Protection Act

      195 Contract Product Liability     1360 Other Personal                     Property Damage                 Relations                          861 HIA(1395ff)                    490 Cable/Sat TV
      196 Franchise                             Injury                    I I385 Property Damage             740 Railway Labor Act                  862 Black Lung (923)               850 Securities/Commodities/
                                         I362Personal Injury -                   Product Liability           751 Family and Medical                 863 DIWC/DIWW (405(g))                 Exchange
                                                Medical Malpractice                                              Leave Act                          864 SSID Title XVI                 890 Other Statutory Actions
          REAL PROPERTY                     CIVIL RIGHTS                   PRISONER PETITIONS                790 Other Labor Litigation             865 RSI (405(g))                   891 Agricultural Acts
      210 Land Condemnation               440 Other Civil Rights             Habeas Corpus:                  791 Employee Retirement                                                   893 Environmental Matters
      220 Foreclosure                     441 Voting                         463 Alien Detainee                  Income Security Act                FEDERAL TAX SUITS                  895 Freedom of Information
      230 Rent Lease & Ejectment          442 Employment                     510 Motions to Vacate                                              • 870 Taxes (U.S. Plaintiff                  Act
      240 Torts to Land                   443 Housing/                           Sentence                                                               or Defendant)                  896 Arbitration
      245 Tort Product Liability                Accommodations               530 General                                                        •   871 IRS—Third Party                899 Administrative Procedure
      290 All Other Real Property        I 445 Amer. w/Disabilities          535 Death Penalty                   IMMIGRATION                             26 USC 7609                         Act/Review or Appeal of
                                                Employment                   Other:                          462 Naturalization Application                                                  Agency Decision
                                         I446 Amer, w/Disabilities           540 Mandamus & Other            465 Other Immigration                                                    I 950Constitutionality of
                                                Other                        550 Civil Rights                    Actions                                                                     State Statutes
                                         [448 Education                      555 Prison Condition
                                                                             560 Civil Detainee -
                                                                                 Conditions of
                                                                                 Confinement

v. ORIGIN (Place an "X"inOneBox Only)
[T] I Original             [^2 Removed from                               Remanded from              I—14 Reinstated or I—I 5 Transferred from              [~| 6 Multidistrict               |~~| 8 Multidistrict
                                                              •                                           Reopened                                                    Litigation -                   Litigation -
         Proceeding                 State Court                           Appellate Court                                           Another District
                                                                                                                                    (specify)                         Transfer                       Direct File

                                            Cite the U.S. Civil Statute under which you are filing (Do not citejurisdictiona!statutes unless diversity).
                                            5 U.S.C. § 706(2)(A):
VL CAUSE OF ACTION
                                            Brief description of cause:
                                            Agency action contrary to law authorizing U.S. Currency as legal tender.
VIL REQUESTED IN                            •       CHECK IFTHIS ISACLASS ACTION                             DEMAND $                                     CHECK YES only ifdemanded in complaint:
          COMPLAINT:                                UNDER RULE 23, F.RCv.P.                                                                               JURY DEMAND:                   DVes          HNo
VIII. RELATED CASE(S)
                                                  (See instructions):
           IF ANY                                                                                                                                   DOCKET NUMBER

                                                                             SIGN^^^OF^ATT^NEY^^^R^^
                                                                           JUDGE

DATE                                                                                         OF ATTORNEY OF RECORD
    March 6, 2024

    FOR OFFICE USE ONLY

      RECEIPT#                      AMOUNT                                        APPLYING IFP                                    JUDGE                                MAG. JUDGE
